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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
                                ____________________
CITY OF GRAND RAPIDS,
                                                             Case No.: 1:17-cv-00113-PLM-RSK
       Plaintiff,
                                                             Hon. Paul L. Maloney
v
GRAND RAPIDS POLICE OFFICERS
ASSOCIATION, GRAND RAPIDS POLICE
COMMAND OFFICERS ASSOCIATION,
ADAM ICKES, THOMAS WARWICK, and
MATTHEW JANISKEE,

       Defendants.
_____________________________________
John H. Gretzinger (P28979)
Scott E. Dwyer (P33131)
Kurt M. Graham (P57190)
MIKE MEYERS, PLC
900 Monroe Avenue, N.W.
Grand Rapids, MI 49503
(616) 632-8027
______________________________________________________________________________

                                  MOTION TO INTERVENE

       DANIEL EMPSON, an interested person, by his attorneys, JOHNSON LAW, PLC, and

pursuant to Federal Rule of Civil Procedure 24 (a)(2), hereby files this Motion to Intervene in the

above-captioned matter. In support of his motion, Empson states as follows:

       1. Daniel Empson (“Daniel”) is the individual referred to in paragraph 36 of the

           Plaintiff, City of Grand Rapids’, Complaint for Declaratory Relief, who was injured

           during an automobile collision on November 19, 2016.

       2. Daniel has filed a civil action arising out of that collision in the Kent County Circuit

           Court, which is Case No. 17-00203-NI, pending before Judge Paul Sullivan.
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   3. In that action, Daniel has alleged that the defendant, Joshua Kuiper, was under the

      influence of alcohol at the time that the collision occurred.

   4. As set forth in Plaintiff’s Complaint in this Court, the telephone call recordings

      contain relevant and material evidence regarding whether Kuiper was visibly

      intoxicated during the investigation of the automobile collision by Grand Rapids

      Police.

   5. Further, attached as Exhibit 1 to this Motion is a copy of Judge Sullivan’s Order to

      preserve evidence, which includes a demand to preserve “audio recordings” of the

      investigating police officers.

   6. Federal Rule of Civil Procedure 24 states “on timely motion, the court must permit

      anyone to intervene who: claims an interest relating to the property or transaction that

      is the subject of the action. . . “

   7. Daniel hereby claims an interest in the disposition of the telephone recordings that are

      the subject of this action, in that his ability to present evidence of Kuiper’s

      intoxication will be materially prejudiced if those recordings are destroyed.

   8. Daniel also claims an interest regarding the disposition of the telephone recordings

      because failure to disclose those recordings to his attorneys will prejudice his ability

      to discover material facts regarding his case.

   9. Failure to permit Daniel to intervene would impair Daniel’s ability to assure that the

      telephone recordings are preserved consistent with Judge Sullivan’s Order.

   10. Failure to permit Daniel to intervene in this action would impair his ability to protect

      his interest in the telephone records, and no party to this action adequately represents

      that interest.
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       For these reasons, Daniel Empson asks that this Court grant his motion, permit him to

intervene, and allow his attorneys to make their appearance and be heard regarding the

declaratory judgment action.

                                            Respectfully submitted,

                                            JOHNSON LAW, PLC


February 6, 2017                     By:      /s/ Brian A. Molde
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